✎AO 245D     (Rev. 11/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF IOWA
        UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                           V.                                           (For Revocation of Probation or Supervised Release)

                   ASA ADAMS
                                                                        Case Number:                         CR 11-2014-1-LRR
                                                                        USM Number:                          11485-029
                                                                        Chad Frese
                                                                        Defendant’s Attorney
THE DEFENDANT:
■ admitted guilt to violation(s)                               2                    of the term of supervision.
■ was found in violation of                                   1                    after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                              Violation Ended

1                               Use of a Controlled Substance                                                    12/25/14
2                               Failure to Comply with Residential Reentry Center Rules                          01/07/15




       The defendant is sentenced as provided in pages 2 through               3   of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant was not found in violation of                                                  and is discharged as to such violation(s).
□ The Court did not make a finding regarding violation(s)                                                .



         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                        February 19, 2015
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge



                                                                        Linda R. Reade, Chief U.S. District Judge
                                                                        Name and Title of Judge

                                                                          February 19, 2015
                                                                        Date




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              Sheet 2— Imprisonment

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                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :         12 months.




     □ The court makes the following recommendations to the Bureau of Prisons:




     ■ The defendant is remanded to the custody of the United States Marshal.

     □ The defendant shall surrender to the United States Marshal for this district:
          □    at                                   □ a.m.         □ p.m.       on                                          .

          □    as notified by the United States Marshal.

     □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          □    before 2:00 p.m. on                                          .

          □    as notified by the United States Marshal.

          □    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

at                                                     with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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           Sheet 3 — Supervised Release

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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :    No Term of Supervised
Release shall be reimposed.




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